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                            UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF TEXAS

                                    MARSHALL DIVISION

UNITED STATES OF AMERICA                        '
                                                '
V.                                              '            NO. 2:19cr11
                                                '            (Judge Gilstrap/Payne)
BEAU DANIEL MERRYMAN                            '

          DEFENDANT'S MOTION FOR PSYCHOLOGICAL/ PSYCHIATRIC
          EXAMINATION TO DETERMINE COMPETENCY OF DEFENDANT

TO THE HONORABLE RODNEY GILSTRAP, UNITED STATES MAGISTRATE JUDGE
FOR THE EASTERN DISTRICT OF TEXAS:

       COMES NOW the Attorney of Record for the Defendant, BEAU DANIEL MERRYMAN,

and files this, his Motion for Psychological / Psychiatric Examination   pursuant to Title 18 U.S.C.

' 4241(a) and (b), pursuant to the guidance of 18 U.S.C. ' 4247and would show this Honorable

Court as follows, to-wit:

                                                 I

                                  PROCEDURAL HISTORY

(1)    On October 16, 2019, the Federal Grand jury for the Eastern District of Texas returned an

       Indictment against, BEAU DANIEL MERRYMAN alleging violations of 18 U.S.C. §

       842(p)(2)(A) Distribution of Information Relating to Explosives and Destruction Devices.

(2)    On October 18, 2019 the Defendant BEAU DANIEL MERRYMAN made his initial

       appearance in the Tyler Division and the undersigned Counsel from The Office of the

       Federal Defender was appointed to represent the Defendant.

(3)    A detention hearing is scheduled before this Court on October 23, 2019.

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                                                 II

                                  GROUNDS FOR MOTION

       Defendant=s counsel requests that a psychological examination of Defendant be conducted

pursuant to 18 U.S.C. ' 4241et seq. Counsel for Defendant would request that the examination be

conducted by the Bureau of Prisons at a federal medical facility, for any necessary period, up to

and including 120 days. Specifically, counsel for the Defendant would request this examination to

determine whether the Defendant is presently competent to stand trial in this matter, as the term

Acompetent@ is defined under law, including whether he has the ability to understand the nature

and substance of the proceedings as well as whether he has the present ability to assist in his own

defense.

       From information received from counsel’s own observations and from others who have

had contact with the Defendant, the undersigned has just cause to believe that the Defendant is

presently suffering from a mental disease or defect rendering him mentally incompetent to the

extent that he can neither (1) sufficiently understand the nature or consequences of the proceedings

against him nor can he (2) assist properly in his defense.

           Defendant=s counsel understands that this motion tolls any speedy trial time from

Indictment to trial pursuant to Title 18 U.S.C. ' 3161(h)(4) and (7)(A).

       WHEREFORE,         PREMISES       CONSIDERED,         the   Defendant,   BEAU      DANIEL

MERRYMAN prays the Court issue an order commanding a psychological and / or psychiatric

evaluation of the Defendant be conducted by the Bureau of Prisons, at a Unit of suited for such

evaluations, to determine the Defendant=s present mental competence to stand trial.    Specifically,



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Defendant BEAU DANIEL MERRYMAN would request that the examination be conducted to

determine his present competency to stand trial and, as of the time of the filing of this Motion,

NOT his sanity at the time of the alleged offense.

                             CERTIFICATE OF CONFERENCE

       Defendant=s counsel has spoken with Assistant United States Attorney FRANK COAN

regarding this motion, and he is not opposed to the granting of this motion.


                                                     Respectfully submitted,


                                                     /s/ Kenneth R. Hawk, II
                                                     KENNETH R. HAWK, II
                                                     Assistant Federal Defender
                                                     Eastern District of Texas
                                                     110 North College, Suite 1122
                                                     Tyler, Texas 75702
                                                     (903) 531-9233
                                                     FAX: (903) 531-9625
                                                     Texas Bar Number: 09243650
                                                     Attorney for Defendan




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                           UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF TEXAS

                                    MARSHALL DIVISION

UNITED STATES OF AMERICA                         '
                                                 '
V.                                               '           NO. 2:19cr11
                                                 '           (Judge Gilstrap/Payne)
BEAU DANIEL MERRYMAN                             '


                                CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2019, I electronically filed the foregoing with the Clerk
of the District Court using the CM/ECF system, which sent notification of such filing to the
following:
       1.     Frank Coan
              Email: frank.coan@usdoj.gov



       And, I hereby certify that I have mailed by the United States Postal Service the document
to the following non-CM/ECF participant(s).



                                                     Respectfully submitted,


                                                     /s/ Kenneth R. Hawk, II
                                                     KENNETH R. HAWK, II
                                                     Assistant Federal Defender
                                                     Eastern District of Texas
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                                                     Attorney for Defendant

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